                UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF TENNESSEE
                          AT GREENEVILLE



UNITED STATES OF AMERICA                     )
                                             )
v.                                           )      NO. 2:07-CR-90
                                             )
TINA ALLEN                                   )



                                     ORDER

             This criminal matter is before the Court to consider the Report and

Recommendation of the United States Magistrate Judge. The defendant has filed no

objections to this report.

             After careful consideration of the Report and Recommendation of the

United States Magistrate Judge, [Doc. 209], it is hereby ORDERED that this Report

and Recommendation is ADOPTED and APPROVED, and that the motion to

dismiss filed by the defendant is DENIED. [Doc. 130].



             ENTER:


                                                     s/J. RONNIE GREER
                                                 UNITED STATES DISTRICT JUDGE




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